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 UNITED STATES BANKRUPTCY COURT
 SOUTHERN DISTRICT OF NEW YORK
 -------------------------------------------------------x
 In re                                                            Chapter 11

 BLUE DOG AT 399 INC.,                                            Case No. 15-10694-mew

                                     Debtor.
 --------------------------------------------------------x
 BLUE DOG AT 399 INC.,

                                    Plaintiff,                    Adv. Pro. No. 19-01029-mew

                  -against-

 SEYFARTH SHAW, LLP and
 RALPH BERMAN,

                                     Defendants.
 --------------------------------------------------------x

                                 ORDER DENYING
                     MOTION TO DISMISS ADVERSARY PROCEEDING

         Upon consideration of the Amended Complaint against all Defendants filed by the

 Plaintiff in the above-captioned adversary proceeding (the “Adversary Proceeding”) [Dkt. No.

 10]; and upon consideration of the Defendants’ Motion for Dismissal of the Adversary

 Proceeding Pursuant to Bankruptcy Rule 7012(b) and Federal Rule 12(b)(6) [Dkt. No. 12] (the

 “Motion”), the Plaintiff’s Brief in Opposition to Motion to Dismiss [Dkt. No. 14], and the

 Defendants’ Reply in Support of the Motion for Dismissal of Adversary Proceeding Pursuant to

 Bankruptcy Rule 7012(b) and Federal Rule 12(b)(6) [Dkt. No. 15]; and it appearing that this

 Court has jurisdiction to consider the Motion pursuant to 28 U.S.C. §§ 157 and 1334; and venue

 being proper before this Court pursuant to 28 U.S.C. §§ 1408 and 1409; and it appearing that

 proper and adequate notice of the Motion has been given and that no other or further notice is
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 necessary; and upon consideration of the arguments presented at the hearing held on July 30,

 2019 to consider the Motion (the “Hearing”); and after due deliberation; it is hereby

        ORDERED ADJUDGED, AND DECREED THAT:

        1.      For the reasons stated on the record at the Hearing, the Motion is DENIED.

        2.      The parties are directed to negotiate a proposed schedule by which the Adversary

 Proceeding shall proceed (including applicable discovery deadlines) and provide such proposal to

 the Court no later than August 9, 2019.



 Dated: July 30, 2019
       New York, New York


                                              s/Michael E. Wiles
                                              HONORABLE MICHAEL E. WILES
                                              UNITED STATES BANKRUPTCY JUDGE




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